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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------x
                                                      :
In re                                                 :        Chapter 11
                                                      :
TK HOLDINGS INC., et al.,                             :        Case No. 17-11375 (BLS)
                                                      :
                  Debtors.1                           :        (Jointly Administered)
                                                      :
------------------------------------------------------x        Re: Docket No. 4679

        ORDER SUSTAINING THE REORGANIZED TK HOLDINGS TRUST’S
     TWENTY-EIGHTH OMNIBUS OBJECTION TO CLAIMS – NON-SUBSTANTIVE

                (Amended & Superseded Claims, Duplicate Claims, Late Claims)

                  Upon the objection (the “Objection”),2 of the Reorganized TK Holdings Trust

(the “Trust”), pursuant to section 502 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 3007-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), for entry of an order

disallowing certain proofs of claim, all as more fully set forth in the Objection; and upon

consideration of the Koluch Declaration; and this Court having jurisdiction to consider the

Objection and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the

Amended Standing Order of Reference from the United States District Court for the District of


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11
cases.
2
  Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms in the
Objection.




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Delaware dated February 29, 2012; and consideration of the Objection and the requested relief

being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Objection

having been provided to the parties listed therein, and it appearing that no other or further notice

need be provided; and this Court having reviewed the Objection; and this Court having

determined that the legal and factual bases set forth in the Objection establish just cause for the

relief granted herein; and it appearing that the relief requested in the Objection is in the best

interests of the Trust, the Debtors’ estates, creditors, and all parties in interest; and upon all of the

proceedings had before the Court and after due deliberation and sufficient cause appearing

therefor,

                 IT IS HEREBY ORDERED THAT:

                 1.          The Objection is granted as provided herein.

                 2.          Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007,

and Local Rule 3007-1, the proofs of claim listed on Exhibit A annexed hereto under the

heading “Amended and Superseded Claims” are disallowed and expunged in their entirety.

                 3.          Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007,

and Local Rule 3007-1, the proofs of claim listed on Exhibit B annexed hereto under the

heading “Duplicate Claims” are disallowed and expunged in their entirety.

                 4.          Pursuant to section 502 of the Bankruptcy Code, Bankruptcy Rule 3007,

and Local Rule 3007-1, the proofs of claim listed on Exhibit C annexed hereto under the

heading “Late Filed Claims” are disallowed and expunged in their entirety.




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                 5.          The responses to the Objection of Sonya Y. McNeal (Docket No. 4700)

and Sudan Salaam (Docket No. 4701) are adjourned to the next omnibus hearing on June 29,

2022 at 9:00 a.m. (ET).

                 6.          This Order has no res judicata, estoppel, or other effect on the validity,

allowance, or disallowance of any claim referenced and/or identified in the Objection that is not

listed on Exhibit A, Exhibit B, or Exhibit C annexed hereto, and all rights to object to or

defend against such claims on any basis are expressly reserved.

                 7.          Should one or more of the grounds of objection stated in the Objection be

dismissed, the Trust’s rights to object on any other grounds that the Trust discovers during the

pendency of these Chapter 11 Cases are preserved.

                 8.          Each of the Claims and the objections by the Trust to such claims, as set

forth on Exhibit A, Exhibit B, or Exhibit C hereto, constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014 and Local Rule 3007-1. This Order shall be deemed a

separate Order with respect to each such Claim. Any stay of this Order pending appeal by any

claimants whose claims are subject to this Order shall only apply to the contested matter which

involves such claimant and shall not act to stay the applicability and/or finality of this Order with

respect to the other contested matters listed in the Objection or this Order.

                 9.          The Trust and its claims and noticing agent, Prime Clerk LLC, and the

Clerk of this Court are authorized to take all steps necessary or appropriate to carry out this

Order.




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                 10.         This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.




Dated: May 31st, 2022                                BRENDAN L. SHANNON
Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE




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